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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

Civil Action No. 3:22-cv-00103-DJH

CC METALS AND ALLOYS, LLC,

                       Plaintiff

v.

AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE COMPANY
(n/k/a AIG Specialty Insurance Company); and
FORTITUDE REINSURANCE COMPANY LTD.

                       Defendants

_____________________________________________________________________________

     DEFENDANTS AMERICAN INTERNATIONAL SPECIALTY LINES INSURANCE
      COMPANY AND FORTITUDE REINSURANCE COMPANY LTD.’S PARTIAL
               MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                                    I.      INTRODUCTION

        American International Specialty Lines Insurance Company (“AIG Specialty”) and

Fortitude Reinsurance Company Ltd. (“Fortitude Re”)1 (collectively, “Defendants”) file this

Partial Motion to Dismiss Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(6),

and Article III of the U.S. Constitution. Specifically, Defendants move to dismiss Plaintiff’s

Third and Fourth Causes of Action alleging breach of the duty of good faith and fair dealing and

violation of the Kentucky Unfair Claims Settlement Practices Act (“UCSPA”) because CCMA



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  Fortitude Re filed a separate Motion to Dismiss for failure to state a claim for relief because
each of Plaintiff’s claims require that a contractual relationship exist between CCMA and
Fortitude Re. Fortitude Re is not the insurer that issued the policy to CCMA; Fortitude Re
reinsures the policy and, thus has no contractual relationship with and owes no contractual
obligations to CCMA. Fortitude Re joins in this Motion in the alternative and in the event the
Court denies its Motion to Dismiss.
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fails to assert sufficient factual allegations to support an essential element of its claims: that

Defendants acted with intent to harm or that their conduct was outrageous and recklessly

indifferent to CCMA’s rights. Under Kentucky law, to state a claim for bad faith (under common

law or statute), the insurer’s conduct must be so egregious as to warrant a punitive damages

award. AIG Specialty’s alleged conduct—even assuming the allegations are true—does not rise

to that level of egregiousness. CCMA does little more than recite the elements and language in

the UCSPA. Such conclusory allegations are insufficient to support claims of bad faith.

        Defendants also move to dismiss the portions of Plaintiff’s Claims that relate to a set of

unidentified, speculative, future costs that have not been incurred or tendered to AIG Specialty.

Plaintiff seeks a declaratory judgment that all future costs that may be incurred to comply with

the Management Plan are covered under the Policy and a finding that AIG Specialty has

breached the insurance contract, breached the duty of good faith and fair dealing and violated the

UCSPA by refusing to provide an advisory coverage opinion and committing to pay all of those

future costs. Because CCMA has not performed the work, incurred the costs, or tendered the

costs in connection with the Management Plan and AIG Specialty has not accepted or denied

coverage for the costs, there is no controversy between the parties. For those same reasons,

CCMA has not suffered any concrete or actual damages. CCMA lacks standing to bring the

claims, which are not ripe for adjudication in the first place.

                               II.     FACTUAL BACKGROUND

        CCMA alleges that it purchased the Pollution Legal Liability Select Clean-Up Cost Cap

Insurance Policy No. EPP 7783997 (the “Policy”) from AIG Specialty in 2003. Complaint ¶ 50;




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An incomplete copy of the Policy is attached to Plaintiff’s Complaint as Exhibit A.2 The Policy

provides select coverage for six different properties –five located in Niagara, New York, and one

property located in Calvert City, Kentucky. Complaint Ex. A, Declarations Item 5A. The Policy

includes nine different coverage parts (A, C, D, F, G, H, I, K, L); CCMA did not purchase

Coverages B, E, and J. Id., Declarations Item 3(a). This lawsuit arises out of costs incurred at the

Calvert City, Kentucky location.

       A.      Past Costs

       CCMA alleges that the “Cost Cap” portion of the Policy (Coverages K and L) provides

coverage for reasonable and necessary OM&M Expenditure Clean-Up Costs. Id. at ¶¶ 4-5, 105.

CCMA alleges that it submitted costs for reimbursement under the Policy as OM&M

Expenditure Clean-Up Costs in September 2020, which included routine maintenance costs for

“pipe leak repairs and cleaning the stormwater drainage system.” Id. at ¶¶ 67, 69. It alleges that

in October, 2020, AIG Specialty denied some of these costs because they did not satisfy the

definition of OM&M Expenditure Clean-Up Costs. Complaint ¶ 68. CCMA alleges that it

disagreed with AIG Specialty’s determination and sent a letter on November 16, 2020 providing

additional information and disputing AIG Specialty’s interpretation of the Policy. Id. at ¶ 71. It

alleges that, over the next year, the parties continued to discuss the denial of coverage for the

costs, that on September 14, 2021, it sent another letter formally disputing the denial, and that on

October 27, 2021, AIG Specialty again responded with its coverage position and affirmatively

stated it would not provide coverage for the unreimbursed maintenance costs. Id. at ¶¶ 72-75.



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  “When a document is referred to in the complaint and is central to the plaintiff’s claim […] the
court’s consideration of the document does not require conversion of the motion to one for
summary judgment.” Greenberg v. Life Ins. Co. of Va., 177 F.3d 507, 514 (6th Cir. 1999). The
copy of the Policy attached to the Complaint appears to be missing pages 4-23 of Table 8-1 of
the Recommended Risk Reduction Plan document attached to Endorsement No. 2.
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       B.      Future Costs

       CCMA alleges that on March 29, 2021, the KDEP requested CCMA submit a corrective

action plan for the Calvert City Site and that CCMA gave notice of the request to AIG Specialty.

Complaint ¶¶ 20, 21. According to CCMA, their contractor, LAN Associates, Inc. (“LAN”) and

CCMA prepared a corrective action plan (“Management Plan”) which described its future plan to

maintain the existing environmental controls and continue to manage in place the pollutants at

the Site to eliminate the risk of exposure. Id. at ¶¶ 22, 23, 88. Prior the preparation of the

Management Plan, CCMA alleges that it prepared and submitted to the KDEP a Site

Characterization Report and Risk Assessment which documented the current environmental

controls at the Site. Id. at ¶¶ 79-81. The KDEP approved the Site Characterization Report and

Risk Assessment, thereby approving the adequacy of the environmental controls in place at the

Site to manage in place the pollutants at the Site and eliminate risk of exposure. Id. at ¶ 84.

       CCMA alleges that the Management Plan contains a number of reporting and other

requirements, id. at ¶ 88, but does not identify any or all of the specific work to be performed or

costs to be incurred under the Management Plan for which it seeks coverage.

       After the Management Plan was prepared but before it was approved by the KDEP,

CCMA alleges that it asked Defendants to assess whether the future work “proposed under the

Management Plan” was covered under the Policy. Id. at ¶¶ 25-26, 90. CCMA alleges that AIG

Specialty stated that it could not and would not provide a conclusive coverage determination for

the “future costs” before the work was completed and all invoices and cost backup information

had been submitted. Id. at ¶¶ 26, 93.

       In the Complaint CCMA does not contend that the work associated with the Management

Plan has been performed, does not contend that costs for work under the Management Plan have



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been submitted to AIG Specialty, and does not even identify specific tasks that will be performed

or the exact amount of the costs that will be incurred. To the contrary, it admits the work has not

been performed and that costs are not known and have not been submitted. Id. at ¶¶ 25 (AIG

Specialty refused to provide coverage “prior to the work being performed.”); 126 (AIG Specialty

“refused to commit to cover such costs incurred in the future”); 140 (AIG Specialty has “refused

to pay and [sic] any such costs incurred in the future to comply with…the Management Plan.”).

CCMA takes issue with AIG Specialty’s refusal to approve all future, yet unidentified, costs that

may be “incurred pursuant to the Management Plan.” Id. at ¶¶ 93, 94.

        CCMA’s Complaint asserts four causes of action. The causes of action relate to both the

past costs and future costs—CCMA does not assert separate causes of action for each category of

costs. With respect to the past, unreimbursed costs, CCMA seeks a declaratory judgment that the

costs are covered OM&M Expenditure Clean-Up Costs. Id. at ¶¶ 187-189.With respect to future

costs, CCMA seeks a declaratory judgment that the Policy does indeed cover the unidentified,

speculative, potential future costs. Id.

        CCMA asserts a cause of action for breach of contract claiming that Defendants breached

the Policy by failing to pay the past costs and by refusing to provide an advisory opinion on

future, undefined costs and committing to pay those costs. Id. at ¶¶ 26, 90. 193. Notably, CCMA

fails to cite to a single policy provision requiring AIG Specialty to provide such an opinion.

        CCMA asserts causes of action for breach of the duty of good faith and fair dealing and

violation of the Kentucky Unfair Claims Settlement Practices Act (“UCSPA”) claiming that

Defendants’ refusal to provide coverage for the past costs and failure to “commit to approving

any future costs” were both wrong and unreasonable. Id. at ¶¶ 125, 129, 138, 154, 179, 192, 201,

202.



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       CCMA further alleges that Defendants breached their duty of good faith and fair dealing

by (a) failing to evaluate and confirm coverage for future costs under the Management Plan; (b)

failing to cover Claims under the Remedial Plan (i.e., the past costs CCMA claims are OM&M

Expenditure Clean-Up Costs); (c) misrepresenting the facts, Policy terms and conditions and

law; (d) asserting unreasonable coverage positions and denials; (e) failing to timely pay the costs

submitted (and future costs) when they were not reasonably in dispute; and (f) placing their own

financial interest above their contractual obligation to the policyholder. Complaint at ¶ 197. It

does not provide any factual allegations to support the conclusory statements in (c) through (f).

       CCMA also concludes that Defendants violated subsections (1) through (8), and (12)

through (13) of section 304.12-230 of the UCSPA. Id at ¶ 202. It does not assert any specific

facts evidencing violations of these subsections.

       It concludes that Defendants denied coverage for CCMA’s costs “without a reasonable

basis for doing so or have acted with reckless disregard to the rights of the insured,” Id. at ¶ 204;

that Defendants “lacked a reasonable basis to deny and delay payment and provide coverage of

Plaintiff’s claim, and Defendant[s]…knew or acted recklessly as to whether a reasonable basis

existed to deny or delay payment…”, Id. at ¶ 206; and that Defendants’ conduct “constitutes

reckless disregard for the rights of Plaintiff and constitutes gross negligence,” Id. at 208. Again,

CCMA provides no factual support or context for these statements.

                                       III.    ARGUMENT

A.     CCMA Fails to State Facts Supporting an Essential Element of its Third Cause of
       Action for Breach of the Duty of Good Faith and Fair Dealing and Fourth Cause of
       Action for Violation of the Unfair Claims Settlement Practices Act.

       An essential element of both its Third Cause of Action and Fourth Cause of Action is that

AIG Specialty’s conduct is sufficiently outrageous, intentional or reckless to warrant punitive



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damages. None of CCMA’s factual allegations regarding Defendants’ conduct—even assuming

they are true—rise to the level of conduct warranting punitive damages. The Complaint’s

unsupported conclusory allegations and recitation of legal standards are insufficient to support

the claims.

       “To survive a motion to dismiss, the complaint must contain either direct or inferential

allegations respecting all material elements to sustain a recovery under some viable legal

theory.” Terry v. Tyson Farms, Inc., 604 F.3d 272, 275–76 (6th Cir. 2010) (quoting Tam Travel,

Inc. v. Delta Airlines, Inc., 583 F.3d 896, 903 (6th Cir. 2009)). When assessing a Motion to

Dismiss, the Court must “(1) view the complaint in the light most favorable to the plaintiff and

(2) take all well-pleaded factual allegations as true.” Tackett v. M&G Polymers, USA, LLC, 561

F.3d 478, 488 (6th Cir. 2009). The Court “need not accept as true legal conclusions or

unwarranted factual inferences, and conclusory allegations or legal conclusions masquerading as

factual allegations will not suffice.” Id.; see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(“[T]he tenet that a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions.”).

       “A plaintiff’s obligation to provide the grounds of his entitlement to relief requires more

than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Phila. Indem. Ins. Co. v. Youth Alive, Inc., 732 F.3d 645, 649 (6th Cir. 2013) (quoting

Republic Bank & Trust Co. v. Bear Stearns & Co., Inc., 683 F.3d 239, 246–47 (6th Cir. 2012)

and Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)) (internal quotations omitted).

       “Kentucky recognizes four categories of bad faith claims that may be brought against

insurance companies.” State Auto Prop. & Cas. Ins. Co. v. Hargis, 785 F.3d 189, 197 (6th Cir.

2015). CCMA asserts two of them here. CCMA’s Third Cause of Action is for breach of the duty



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of good faith and fair dealing, referred to as a common law bad faith claim. See id.; James T.

Scatuorchio Racing Stable, LLC v. Walmac Stud Mgmt., LLC, 941 F. Supp. 2d 807, 816

(E.D.Ky. 2013) (“Bad faith is generally described as ‘an intentional tort which results from a

breach of the implied contractual duty of good faith and fair dealing. […] [which] Kentucky

courts have only recognized […] in the context of insurance contracts.”). CCMA’s Fourth Cause

of Action is for violation of the UCSPA, which is referred to as a statutory bad faith claim. State

Auto, 785 F.3d at 197 (referring to a violation of the UCSPA as a “statutory” bad faith claim).

       Under Kentucky law:

       [a] single standard applies to all four categories of bad faith claims, which
       requires that the insured prove three elements: (1) the insurer must be obligated to
       pay the claim under the terms of the policy; (2) the insurer must lack a reasonable
       basis in law or fact for denying the claim; and (3) it must be shown that the
       insurer either knew there was no reasonable basis for denying the claim or acted
       with reckless disregard for whether such a basis existed.

State Auto, 785 F.3d at 197 (quoting Wittmer v. Jones, 864 S.W.2d 885, 890 (Ky. 1993)); see

also United Servs. Auto. Ass’n v. Bult, 183 S.W.3d 181, 186 (Ky. Ct. App. 2003); Cobb King v.

Liberty Mut. Ins. Co., 54 Fed. App’x 883, (6th Cir. 2003).

       “A bad faith claim under Kentucky law is, essentially, a punitive action. The tort of bad

faith is non-existent under our law, unless the underlying conduct is sufficient to warrant

punitive damages.” Hollaway v. Direct Gen. Ins. Co. of Miss., 497 S.W.3d 733, 739 (Ky. 2016);

Wittmer v. Jones, 864 S.W.2d 885, 890 (Ky. 1993) (“before the cause of action [for bad faith]

exists in the first place, there must be evidence sufficient to warrant punitive damages….”). This

requirement, according to the Kentucky Supreme Court in Hollaway, is embodied in element

three (i.e., that the insurer knew there was no reasonable basis for denying claim or acted with

reckless disregard). Id.




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       To satisfy this element, there must be “sufficient evidence of intentional conduct or

reckless disregard of the rights of an insured….” Wittmer, 864 S.W.2d at 890; United Servs.

Auto. Ass’n v. Bult, 183 S.W.3d 181, 186 (Ky. Ct. App. 2003). “Evidence of mere negligence or

failure to pay a claim in a timely fashion will not suffice to support a claim for bad faith.

Inadvertence, sloppiness, or tardiness will not suffice; instead the element of malice or flagrant

malfeasance must be shown.” Bult, 183 S.W.3d at 186. With respect to any delay in payment, for

example, the plaintiff must “present ‘proof or evidence supporting a reasonable inference that the

purpose of the delay was to extort a more favorable settlement….’” Bowlin Grp. v. Rebennack,

626 S.W.3d 177, 189 (Ky. Ct. App. 2020) (quoting Motorist Mut. Ins. Co. v. Glass, 966 S.W.2d

437, 453 (Ky. 1997)).

       Thus, plaintiffs have a “‘steep burden’ … before a trial court should find the plaintiff to

have brought a viable bad-faith claim.” Mosley v. Arch Specialty Ins. Co., 626 S.W.3d 579, 584

(Ky. 2021) (quoting Wittmer, 864 S.W.2d at 890). CCMA fails to meet that steep burden at the

pleadings stage. Where a complaint alleges only bare conclusory allegations but no facts to

support or evidence that the insurer’s conduct rises to the level that would warrant punitive

damages, Kentucky federal courts routinely dismiss claims for bad faith on a motion to dismiss.

See, e.g., Little v. Butler, No. 7:19-CV-114, 2020 WL 2765762 (E.D.Ky. May 28, 2020)

(dismissing complaint that made only bare legal conclusions and did not allege or support that

the defendant insurer lacked a reasonable basis to deny Plaintiff’s claim or knew or acted with

reckless disregard as to the lack of such basis.); Nationwide Mut. Fire Ins. Co. v. Castle, No. 13-

25, 2013 WL 5503056 (E.D.Ky. Oct. 2, 2013) (dismissing counterclaim for UCSPA because it

asserted only “legal conclusions posing as facts”); Anderson v. Std. Ins. Co., No. 3:14-CV-51,

2014 WL 5366117 (W.D. Ky. Oct. 21, 2014) (dismissing bad faith claims where the plaintiff



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listed defendant’s “acts or omissions” by referencing KRS 304.12-230 and alleging that

defendant violated those requirements “with full knowledge … and reckless indifference.”).

       CCMA’s Complaint does little more than assert legal conclusions that mirror the

elements of a bad faith claim and language from the UCSPA statute. It does not assert a single

fact regarding Defendants’ conduct that would warrant a punitive damages award. As a result,

CCMA’s Third and Fourth Causes of Action fail to state a claim for common law and statutory

bad faith. CCMA does not allege—even in a conclusory fashion—that Defendants acted

outrageously, intentionally, or with “malice or flagrant malfeasance.” It only concludes that

Defendants “denied the claims of the Plaintiff without a reasonable basis for doing so or have

acted with reckless disregard to the rights of the insured” and that Defendants “lacked a

reasonable basis to deny and delay payment and provide coverage of Plaintiff’s claim, and

Defendant Insurers knew or acted recklessly as to whether a reasonable basis existed to deny or

delay payment of her [sic] claim.” Complaint, ¶¶ 204, 206, 208.3 These paragraphs merely recite

the elements of a bad faith claim and are insufficient to survive a Motion to Dismiss. See Phila.

Indem. Ins. Co. v. Youth Alive, Inc., 732 F.3d 645, 649 (6th Cir. 2013). CCMA fails to assert any

facts to support these conclusions.

       The only factual allegations describing Defendants’ allegedly “improper” conduct are

that (1) in 2020, AIG Specialty denied coverage for routine maintenance costs to fix leaking

pipes and clean the stormwater drains, Complaint ¶¶ 68-69, 197; and (2) AIG Specialty refused

to commit to providing coverage and paying future, speculative, and yet-undetermined costs,

Complaint ¶¶ 154, 197. CCMA disagrees with AIG Specialty’s denial and refusal to commit to



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  These conclusory allegations appear only on CCMA’s statutory bad faith claim; it does not
allege reckless disregard in support of its common law bad faith claim. See Complaint, ¶¶ 195-
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pay future costs and alleges Defendants have acted unreasonably and committed bad faith.

However, a breach of the Policy alone—even an unreasonable one—does not warrant punitive

damages and is insufficient to support a bad faith claim. Bult, 183 S.W.3d at 186; Wittmer, 864

S.W.2d at 890. CCMA fails to include any allegations that would even suggest how Defendants’

conduct was “reckless” or showed “reckless disregard” for its rights as it concludes in its Fourth

Cause of Action. Instead, the Complaint describes a routine and transparent investigation by

Defendants with additional follow-up with CCMA to clarify its positions under the Policy. See

Complaint ¶¶ 68-75.

       The remaining allegations regarding Defendants’ conduct are conclusory and

unsupported. For its statutory bad faith claim, like in Anderson, CCMA only concludes that

Defendants violated the UCSPA and then cites to and restates the subsections of KRS 304.12-

230 that it contends Defendants violated. Compare Anderson, 2014 WL 5366117 at *4 with

Complaint at ¶¶ 200–208. CCMA provides no factual support for any of the alleged violations

and thus the claim fails as a matter of law. Even so, violations of the statutory provisions are not

enough—there must be evidence of conduct warranting punitive damages for a claim to survive.

Hollaway, 497 S.W.3d at 739; Wittmer, 864 S.W.2d at 890. Again, no such conduct is alleged in

the Complaint.

       For its common law bad faith claim, CCMA alleges that Defendants misrepresented the

facts, Policy terms, and law regarding CCMA’s claims, but it fails to identify a single

misrepresentation made. Complaint at ¶ 197. It alleges that Defendants failed to timely pay

CCMA’s claims when they were not reasonably in dispute, but it admits throughout its

Complaint that AIG Specialty denied coverage for its past costs—those costs are clearly in

dispute. Complaint at ¶ 197. Future costs have not been identified, let alone incurred or billed, so



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there can be no delay in paying costs that do not exist and have not been submitted to

Defendants. Even so, mere delay is insufficient to support a bad faith claim. Bowlin Grp., 626

S.W.3d at 189. Lastly, CCMA alleges that Defendants have placed their own financial interest

above their contractual obligations to the policyholder, but CCMA has not asserted any facts in

support of this conclusion other than that coverage was denied for certain costs. Complaint at ¶

197. Even if Defendants’ coverage determination was wrong, mere negligence in denying the

claim will not suffice. Bult, 183 S.W.3d at 186. CCMA has alleged no facts to suggest that the

denial was motivated by Defendants’ financial interests.

       CCMA has failed to plead any facts suggesting Defendant’s conduct was sufficiently

outrageous or reckless as to “warrant punitive damages,” relying only on unsupported conclusory

allegations. Thus, CCMA fails to state a claim for common law and statutory bad faith. For these

reasons, just as the courts in Little, Castle, and Anderson did, this Court should dismiss CCMA’s

Third and Fourth Causes of Action for common law and statutory bad faith.

B.     Plaintiff’s Claims Based on Future or Potential Costs Are Not Justiciable.

        “A claim is not amenable to the judicial process when it is filed too early (making it

unripe), when it is filed too late (making it moot) or when the claimant lacks a sufficiently

concrete and redressable interest in the dispute (depriving the plaintiff of standing).” Warshak v.

United States, 532 F.3d 521, 525 (6th Cir. 2008). Specifically, Article III Section 2 of the U.S.

Constitution provides that federal courts shall only have jurisdiction over “cases and

controversies.” Ky. Press Ass’n v. State, 355 F. Spp. 2d 583, 858 (E.D.Ky. 2005); USCS Const.

Art. III, § 2. In order to satisfy the “case or controversy” requirement, a plaintiff must have

standing and its claims must be ripe. Trump v. New York, 141 S.Ct. 530, 535 (2020).




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       In order for the claim to be ripe, Plaintiff’s case must not be “dependent on ‘contingent

future events that may not occur as anticipated, or indeed may not occur at all.’” Id. (quoting

Texas v. United States, 523 U.S. 296, 300 (1998)). To establish standing, a plaintiff must have

“an injury that is concrete, particularized, and imminent rather than conjectural or hypothetical.”

Id. at 535 (quoting Carney v. Adams, 141 S.Ct. 493 (2020)); see also Ky. Press Ass’n v. State,

355 F. Supp. 2d 853, 858 (E.D.Ky. 2005) (“If the plaintiff does not have standing to sue, then the

Court does not have jurisdiction over the matter because there is no ‘case’ or ‘controversy’”).

       As currently pleaded, Plaintiff’s Complaint seeks a declaration of coverage for

unidentified, speculative, potential future costs that may be incurred to comply with the

Management Plan, and asserts claims for breach of contract and common law and statutory bad

faith arising out of Defendants’ failure to (commit to) provide coverage for and pay these un-

incurred, speculative costs. Because (a) whether or not these costs will be incurred and, if

incurred, the nature and the amount of these future costs is unknown and contingent on future

events, and (b) a denial of coverage has not occurred and cannot occur until Defendants receive

information regarding the nature and amount of the costs, and may not even occur after the costs

are evaluated, CCMA’s claims are not ripe. Because CCMA has not paid any of these future

costs and does not even know the nature and amount of these future costs, it has no concrete or

particularized damage and, thus, no standing to bring these claims. All of CCMA’s claims with

respect to these future costs must be dismissed.

               1.      Plaintiff’s claims based on future costs are not ripe.

       “Ripeness, while related to the issue of standing, is a distinct inquiry that involves

determining whether there is a substantial controversy between parties who have adverse legal

interests.” Ky. Press Ass’n v. State, 355 F. Supp. 2d 853, 858 (E.D.Ky. 2005). “A factor



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highlighted by many courts [in determining ripeness] is the likelihood that the asserted injury or

anticipated events will occur.” Allstate Ins. Co. v. Wayne County, 760 F.2d 689 (6th Cir. 1985).

The Court shall apply a two-factor test in assessing ripeness: “(1) is the claim fit for judicial

decision in the sense that it arises in a concrete factual context and concerns a dispute that is

likely to come to pass? And (2) what is the hardship to the parties of withholding court

consideration?” Warshak v. United States, 532 F.3d 521, 525 (6th Cir. 2008) (cleaned up). Claims

seeking advisory coverage opinions related to possible future events are particularly appropriate

for dismissal. See, e.g., Toledo Newspaper Unions-Blade Pension Trust Fund v. Fed. Ins. Co.,

No. 3:07 CV 2590, 2008 WL 11433474, at *1 (N.D. Ohio Feb. 28, 2008), aff’d 318 Fed. App’x.

347 (6th Cir. 2009) (granting insurer’s motion to dismiss declaratory judgment action as unripe

because plaintiff was “seeking an impermissible advisory opinion concerning issues that could,

in the future, bear fruit”). A claim is not ripe if it requires the court to “[a]nswer[] difficult legal

questions before they arise and before the courts know how they will arise”. Warshak, 532 F.3d

at 526. That is precisely what CCMA asks the Court to do here.

        CCMA’s claims do not arise in a concrete factual context; they are contingent upon the

occurrence of multiple future events, which may or may not occur, and no actual controversy has

arisen. First, all of the claims presume that CCMA will actually incur future costs “pursuant to

the Management Plan.” Complaint ¶¶ 93-94. Whether future costs will be incurred in the first

place and if so, the nature and amount of the costs/work, is contingent upon future events and

developments which are not guaranteed to occur. CCMA’s Complaint vaguely describes the

future costs as those that will be “incurred pursuant to the Management Plan.” Complaint ¶¶ 93-

94. As CCMA alleges, the purpose of the Management Plan is to “maintain the existing




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environmental controls” and to continue to manage in place the pollutants present. Id. at ¶¶ 22,

23, 88.

          CCMA’s Complaint does not identify a concrete or specific list of future work or costs

because, at this time, it is unclear what costs/work, if any, will even be necessary to maintain the

environmental controls or continue to manage the pollutants in place. As CCMA alleges in the

Complaint, the current environmental controls at the Site were approved by the KDEP when it

approved the Site Characterization and Risk Assessment. Complaint ¶¶ 79-81. Thus, future costs

are contingent on some failure of or issue with the current environmental controls performing as

intended. Because such issues or failures are not guaranteed, it is unclear whether future costs or

work will be necessary. Even if issues or failures arise, the type of issues and environmental

controls affected are not known and thus CCMA does not know what future work or costs will

be incurred or the amount of those costs.

          Second, the claims require a dispute as to coverage between the parties, which is

contingent upon Defendants denying coverage: the declaratory judgment claim requires an actual

controversy, which will only arise if the parties disagree as to coverage and the breach of

contract and bad faith claims require (or presume) Defendants denied or will deny coverage for

the future costs. Defendants’ coverage decision will, in turn, depend on the nature of the

work/costs and the amount of the costs. Even if the KDEP’s request qualifies as a “Claim,”4 and

regardless of whether the relevant coverage is Coverage A, D, K, or L,5 coverage for the costs



4
  Defendants dispute that any requests made by the KDEP constitute a “Claim” under the Policy.
5
  CCMA did not purchase Coverage B and or E. Coverage F is clearly inapplicable. It covers
“Property Damage” which, while it includes “Natural Resource Damage” as alleged by CCMA,
requires actual physical injury to or destruction of property, water, wildlife and the like. The
purpose of the Management Plan is to continue to prevent the migration and seepage of
contamination into the Tennessee River. Thus, costs are to prevent “Property Damage”/“Natural
Resource Damages” not as a result of “Property Damage”/“Natural Resource Damages.”
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incurred requires that they meet the definition of “Clean-Up Costs,” which requires that the costs

be “reasonable and necessary” and satisfy other various requirements depending on the type of

work and costs. Until the nature and amount of costs is known, Defendants cannot evaluate

coverage and, until they do, it is unclear whether they will, in fact, deny coverage. The same is

true for the Court: a declaration of coverage or evaluation of Defendants’ conduct by the Court is

not only premature but impossible until the costs are known and incurred because it cannot

properly evaluate the issues.

       No hardship will result if the Court withholds its consideration related to future costs.

CCMA has not incurred or paid any of these future costs and, thus, withholding consideration at

this time will cause no harm or detriment. If and when costs are incurred, and if AIG Specialty

denies coverage for those costs, the Complaint can be amended to assert a claim for costs

actually incurred pursuant to the Management Plan. While it may be advantageous for Plaintiff

to join all present and possible future claims in a single proceeding, “joinder is not justified when

it allows the court to engage in resolution of hypothetical and abstract questions.” Allstate Ins.

Co. v. Wayne County, 760 F.2d 689, 697 (6th Cir. 1985).

       On the other hand, ruling on coverage issues or the propriety of a possible future denial

of coverage based on hypothetical situations and without accurate or complete information

regarding the costs that may be incurred would be unfair and prejudicial to Defendants. Neither

AIG Specialty, nor this Court, should guess whether hypothetical future costs satisfy the

requirements of the definition of “Clean-Up Costs” under the Policy.

       There is no present controversy or dispute between the parties. CCMA’s claims for future

costs are all contingent on not one but multiple future events which may or may not take place.

Until those events take place, the claims are not ripe and the Court does not even have the facts



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necessary to properly resolve the claims. No costs have been incurred, no costs have been

tendered, and no denial has occurred. Instead, CCMA is asking this Court to render an advisory

opinion regarding future events of uncertain scope. Toledo Newspaper Unions-Blade Pension

Trust Fund v. Fed. Ins. Co., 2008 WL 11433474, at *1, aff’d 318 Fed. App’x. 347 (6th Cir.

2009) CCMA’s claims as to future costs should be dismissed.

                2.      Plaintiff lacks standing.

        To have standing, a plaintiff “must have suffered an injury in fact—an invasion of a

legally protected interest which is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (cleaned

up). “[P]arties do not have standing to obtain rulings on matters that remain hypothetical or

conjectural.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 137 (2007) (J. Thomas,

dissenting). “[T]he declaratory judgment procedure cannot be used to obtain advanced rulings on

matters that would be addressed in a future case of actual controversy.” Id.

        CCMA has not suffered any damages as a result of its claims for future costs because (1)

it has not incurred or paid the future costs pled in its Complaint and (2) AIG Specialty has not

denied coverage for any future costs. Any potential injury is purely hypothetical for the same

reasons: in order to suffer damage, it must have actually incurred costs, which may or may not

occur for the reasons discussed in Section B.1., and Defendants must have denied the costs,

which may or may not occur and will depend on the nature and amount of costs actually

incurred, if any. CCMA cannot even identify when the costs may be incurred. As such, Plaintiff

lacks standing to pursue all of its claims as they relate to future costs.6



6
 The fact that Plaintiff has not yet suffered any damages related to future costs and that AIG
Specialty has not yet denied coverage for any future costs is also fatal to Plaintiff’s breach of
contract and bad faith claims because damages and/or denial is an essential element to each. A
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       Because CCMA does not assert separate causes of action for future costs and past costs,

referring to them collectively as the “CCMA Claims” in each of its causes of action, if the Court

grants this portion of Defendants’ motion to dismiss, Defendants requests that the Court dismiss

the Complaint with leave to amend only to remove all allegations and requests for relief related

to future, un-incurred costs that have not been denied by AIG Specialty, including allegations

related to the “KDEP Claim” and the Management Plan. Alternatively, Defendants request that

the Court issue an order striking the paragraphs in the Complaint that refer to or encompass

allegations and requests for relief related to un-incurred future costs that have not been denied by

AIG Specialty, including allegations related to the KDEP Claim and the Management Plan.

Those paragraphs are: 25, 26, 90-95, 126, 148-182, and 201. Paragraphs 27, 75, 135, 136, 147,

197, 201, and 202 contain allegations and requests related to both past and future costs, and

Defendants request that the portions referring to the KDEP Claim, costs pursuant to the

Management Plan or future costs be stricken.

                    IV.    CONCLUSION AND REQUEST FOR RELIEF

       For the foregoing reasons, AIG Specialty and Fortitude Re respectfully request this Court

grant their Motion, and (1) dismiss with prejudice CCMA’s Cause of Action Three and Cause of

Action Four; and (2) dismiss with prejudice all Causes of Action for future costs that have not

yet been incurred by CCMA and denied by AIG Specialty by dismissing the Complaint with

leave for CCMA to amend in order to remove all allegations and requests for relief related to




breach of contract claim requires a plaintiff to prove “1) existence of a contract; 2) breach of that
contract; and 3) damages flowing from the breach of contract.” Metro Louisville/Jefferson Cty.
Gov’t v. Abma, 326 S.W.3d 1, 8 (Ky. Ct. App. 2009). Bad faith claims require the plaintiff show
that the insurer is obligated to pay the claim under the policy and denied the claim without a
reasonable basis in law or fact. Mosley v. Arch Specialty Ins. Co., 626 S.W.3d 579, 584 (Ky.
2021).
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future, un-incurred costs that have not been denied by AIG Specialty, including allegations

related to the KDEP Claim and the Management Plan. Alternatively, Defendants request that the

Court dismiss with prejudice all Causes of Action for future costs that have not yet been incurred

by CCMA and denied by AIG Specialty by striking paragraphs 25, 26, 90-95, 126, 148-182, and

201 and the portions of paragraphs 27, 75, 135, 136, 147, 197, 201, and 202 that refer to future,

un-incurred costs not denied by AIG Specialty, the KDEP Claim, or the Management Plan .

Dated: April 22, 2022



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                               CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on April 22, 2022, the foregoing was served
on all counsel of record via the Court’s electronic filing system.

                                                    s/ Michael C. Merrick
                                                    Counsel for Defendants




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